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                                                                November 12, 2020
   VIA ECF

   Honorable Loretta A. Preska
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007-1312

             Re:     Giuffre v. Dershowitz, Case No.: 19-cv-03377-LAP

   Dear Judge Preska:

           Pursuant to your Order dated November 6, 2020, ECF No. 191, Professor Alan Dershowitz
   (“Professor Dershowitz”) respectfully submits this letter brief setting forth his position concerning the
   proper scope of the protective order to govern party discovery in this case. The parties have agreed to
   the form of protective order attached hereto as Exhibit A, with the critical exception of paragraph 2
   pertaining to the definition of “Confidential Information.”1 Simply put, Plaintiff seeks wide authority to
   shield information from public view by designating it confidential. Professor Dershowitz believes that
   in the context of this case especially, involving as it does a false global attack on his character,
   transparency is critical and required.

           This litigation had its inception in Plaintiff’s very public accusation of sexual abuse against
   Professor Dershowitz, which created a media frenzy. Plaintiff has repeated her false accusation
   countless times in the worldwide media and disseminated it across the globe including in an appearance
   in a Netflix documentary while this litigation has been pending. Given Plaintiff’s malicious attack on
   him, Professor Dershowitz insists that these proceedings be as transparent as possible, consistent with
   the First Amendment presumption of openness of court proceedings. It would be an abuse of these
   proceedings for Plaintiff to be able to falsely attack Professor Dershowitz publicly while insisting that
   proof of the falsity of her attack be shielded from public view. Such a use of the judicial process is
   precisely what the Second Circuit warned against in Brown v. Maxwell, 929 F.3d 41, 51 (2d Cir. 2019).
   Professor Dershowitz has nothing to hide here and there is nothing to be gained from the type of blanket
   protective order the Court entered in the Giuffre v. Maxwell case, which improperly obscured those
   proceedings from public view and is still causing headaches more than three years after the case settled.

           Professor Dershowitz made clear his position at the outset of this case that any protective order
   governing discovery between the parties should be limited in scope to the protection solely of medical
   information. Plaintiff, who has recently publicly proclaimed in the unsealing proceedings in the
   Maxwell case that she too wants transparency, agreed to this proposal. Thus, the parties jointly informed
   the Court in their Rule 26 report that “the parties anticipate that a narrow protective order for the
   production of confidential medical records will be required.” ECF No. 93 at 7. This agreement was
   later expanded to include financial information.




   1
       Specifically, Plaintiff objects to the inclusion of the clause highlighted in yellow in paragraph 2.
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           Plaintiff has since reneged on her agreement to minimal confidentiality, and now seeks to
   designate as confidential under the protective order in this case all documents which she previously
   designated as confidential in discovery in the Maxwell case, without regard to whether there is any
   legitimate basis to assert confidentiality. Given the fact that virtually every document produced by
   Plaintiff in the Maxwell case bore a confidentiality designation, and the large degree of overlap between
   the two cases, as a practical matter, this would mean that the vast majority of documents produced by
   Plaintiff in this case would be designated confidential. Professor Dershowitz, on the other hand, would
   only be permitted to apply confidentiality designations to medical and financial information. Not only is
   this impermissibly asymmetrical and patently unfair, it is illogical.

           Professor Dershowitz recognizes that this Court has held that Maxwell case materials exchanged
   in discovery in this case which were originally produced by Ms. Maxwell or by third parties, or which
   contain names of alleged sexual abuse victims, continue to be governed by the Maxwell protective order.
   Plaintiff obtained these documents in discovery pursuant to the Maxwell protective order and she cannot
   unilaterally remove confidentiality designations made by another party. In contrast, Plaintiff is free to
   do with her own documents – documents which she possessed prior to the Maxwell case and which
   belong to her – whatever she wishes, including producing them in this litigation without any
   confidentiality designation or attendant restrictions on their use. Plaintiff recognizes this critical
   distinction, which is why she re-produced to Professor Dershowitz her own document productions from
   the Maxwell case without leave of Court, but insisted that leave of Court be obtained prior to her
   producing documents originally produced by Ms. Maxwell or third parties. The fact that Plaintiff
   designated documents as confidential when producing them in the Maxwell case is, frankly, irrelevant to
   the question whether they are properly entitled to confidentiality in this case.

           For the foregoing reasons, Professor Dershowitz respectfully requests that the Court enforce the
   parties’ original agreement and enter the form of protective order attached as Exhibit A hereto, including
   the language highlighted in yellow in paragraph 2.




                                                       Respectfully submitted,

                                                       /s/ Howard M. Cooper
                                                       Howard M. Cooper

   cc:     All counsel of record, via email


   Enclosures: Ex. A




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